                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                          DOCKET NO. 5:19-cr-00022-MOC-DSC

 UNITED STATES OF AMERICA                             )
                                                      )
 v.                                                   )    JOINT MOTION FOR PRETRIAL
                                                      )        STATUS CONFERENCE
 GREG E. LINDBERG,                                    )       AND TO STAY PRETRIAL
 JOHN D. GRAY,                                        )         MOTIONS DEADLINE
 JOHN V. PALERMO, JR, and                             )
 ROBERT CANNON HAYES,                                 )
                                                      )
             Defendants.                              )
 _____________________________________


       NOW COME defendants, by and through counsel of record, and hereby jointly move that

the Court convene a pretrial status conference to discuss the scheduling of this matter, including

the continuing of the pending July 15, 2019 calendar call, and stay the pending June 17, 2019

pretrial motions deadline pending an updated schedule to be decided at the pretrial status

conference. In accordance with LCrR 47.1(b), defendants certify that they have conferred with

counsel for the United States prior to the filing of this motion and report that counsel to the United

States consents to this motion.

       1.      Due to the volume of the discovery that has already been produced, the additional

volume of discovery anticipated to be produced, the timing of these rolling productions, and to

allow for orderly scheduling of trial, the parties respectfully move that the Court convene a pretrial

status conference to discuss continuing the pending July 15, 2019 calendar call and identifying a

preemptive date for trial to commence.

       2.      The parties further move that the pending June 17, 2019 pretrial motions deadline

be stayed pending an updated schedule to be decided at the pretrial status conference.




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       3.      The parties further move that the Court find, pursuant to 18 U.S.C. § 3161(h)(7),

that any period of delay resulting from a continuance granted in response to this motion be

excluded on the basis that the ends of justice served by such a continuance outweighs the best

interest of the public and the defendants in a speedy trial because that the failure to grant such a

continuance would deny counsel for the defendants the reasonable time necessary for effective

preparation, taking into account the exercise of due diligence, in light of the volume of discovery

produced, the additional volume of discovery anticipated to be produced, and the timing of these

rolling productions. See 18 U.S.C. § 3161(h)(7)(iv).

       4.      All counsel for the defendants are available on June 18 (in the morning), 19 (any

time), or 20 (any time), 2019, if there is a time during those days that is convenient for the Court.

       WHEREFORE, defendants jointly move the Court to convene a pretrial status conference

to discuss the scheduling of this matter, including the continuing of the pending July 15, 2019

calendar call, stay the pending June 17, 2019 pretrial motions deadline pending an updated

schedule to be decided at the pretrial status conference, and exclude any period of delay occasioned

by such a continuance.




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Respectfully submitted this 23rd day of May, 2019.

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